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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                    CASE NO. 23-80101-CR-CANNON


    UNITED STATES OF AMERICA,

           Plaintiff,

    v.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA

          Defendants.
    ________________________________/

                                   PROTECTIVE ORDER
                          PERTAINING TO CLASSIFIED INFORMATION

           This matter comes before the Court upon the Government’s Motion for Protective Order

    pursuant to Section 3 the Classified Information Procedures Act, 18 U.S.C. App. 3 (“CIPA”), to

    prevent the unauthorized use, disclosure, or dissemination of classified national security information

    and documents that will be reviewed by or made available to, or are otherwise in the possession of,

    defense counsel in this case.

           Pursuant to the authority granted under Section 3 of CIPA, the Security Procedures

    established pursuant to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for

    the Protection of Classified Information (reprinted following CIPA § 9) (hereinafter the “Security

    Procedures”), the Federal Rules of Criminal Procedure 16(d) and 57, the general supervisory

    powers of the Court; and, in order to protect the national security, the Government’s Motion is
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    GRANTED and the following Protective Order is entered: 1

           1.      The Court finds that this case will involve information that has been classified in

    the interest of national security. The storage, handling, and control of this information will require

    special security precautions mandated by statute, executive order, and regulation, and access to

    this information requires appropriate security clearances and need-to-know, as set forth in

    Executive Order 13526 (or successor order) and under the Atomic Energy Act (“AEA”), 42 U.S.C.

    2011, et seq., that has been validated by the government. 2

           2.      The purpose of this Protective Order (“Order”) is to establish the procedures that

    must be followed by defense counsel, the parties, and all other individuals who receive access to

    classified information or documents in connection with this case. The procedures set forth in this

    Order shall apply to all pre-trial, trial, post-trial, and appellate matters concerning classified

    information in this case and may be modified from time to time by further order of the Court acting

    under this Court’s inherent supervisory authority to ensure a fair and expeditious trial. The

    limitations on disclosure of classified information set forth in this Order are forever binding on

    Defendants and their counsel and violations may result in criminal and/or civil penalties. The

    government and the defense may also move for modification of this Order at any time for good

    cause shown.

           3.      Definitions. The following definitions shall apply to this Order:




    1
      The Court understands that the government may move for supplemental protective orders
    pursuant to CIPA and the Federal Rules of Criminal Procedure.
    2
      Any individual to whom classified information is disclosed pursuant to this Order shall not
    disclose such information to another individual unless the U.S. agency that originated that
    classified information has validated that the proposed recipient possesses an appropriate security
    clearance and need-to-know.
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                   a. “Government” or “the government” refers collectively to the Department of

    Justice prosecutors and support staff, as well as any law enforcement or intelligence community

    employees assisting in the prosecution of this matter.

                   b.   “Defense” or “defense team” refers collectively to the Defendants’ counsel

    and any support staff assisting the Defendants’ counsel authorized to receive classified information

    pursuant to this Order.3

                   c. “Classified information” shall include:

                           i.     Any document, recording, or information that has been classified by any

    Executive Branch agency in the interests of national security pursuant to Executive Order 13526,

    as amended, or its predecessor or successor orders, or under the AEA, as “CONFIDENTIAL,”

    “SECRET,” “TOP SECRET,” or “FORMERLY RESTRICTED DATA,” or additionally

    controlled as “SENSITIVE COMPARTMENTED INFORMATION” (“SCI”);

                           ii.     Any document, recording, or information now or formerly in the

    possession of a private party that (A) has been classified by the United States Government as set

    forth above, and/or (B) has been derived from information that was classified by the United States

    Government;

                           iii.    Verbal or other unwritten or unrecorded information known to the

    Defendants or the defense team that has been classified by the United States Government as set

    forth above;




    3
      This Protective Order will apply to all defense counsel, both current and future, who possess
    the requisite clearance. Only defense counsel who possess the requisite clearance will have
    access to classified information.
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                            iv.    Any information, regardless of its origin, that the defense knows or

    reasonably should know contains classified information, including information acquired or

    conveyed orally;

                            v.    Any document, recording, or information as to which the defense has

    been notified orally or in writing contains classified information; and

                            vi.    Any document, recording, or information that is classified, as set forth

    in (i), that has been approved by the United States government for limited authorized disclosure to

    the defense in criminal case United States v. Trump et al., 23-80101-CR-CANNON, pursuant to

    the restrictions set forth herein.4

                    d.      “Document,” “materials,” and “information” shall include, but are not

    limited to:

                            i.    All written, printed, visual, digital, electronic, or audible matter of any

    kind, formal or informal, including originals, conforming copies, and non-conforming copies

    (whether different from the original by reason of notation made on such copies or otherwise), as

    well as metadata;

                            ii.       Notes    (handwritten,    oral,   or   electronic);   papers;   letters;

    correspondence; memoranda; reports; summaries; photographs; maps; charts; graphs; inter-office

    communications; notations of any sort concerning conversations, meetings or other



    4
      In the event that the government’s discovery obligations require disclosure of government
    information that is not marked as classified but has been deemed to be classified, the government
    will inform defense counsel specifically what the information is and, if known, the level of
    classification. If the government is disclosing information that it has reason to believe is
    classified but the classification review for that information has not been completed, the
    government will inform the defense that information must be handled as classified, consistent
    with this Order, unless and until the government confirms that it is not classified. If the Court
    or a party to the case seeks to use or disclose information that has not been formally reviewed for
    classification, the Court and the parties shall address such use or disclosure pursuant to CIPA.
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    communications; bulletins; teletypes; telecopies; telegrams; telexes; transcripts; cables; facsimiles;

    invoices; worksheets and drafts; microfiche; microfilm; videotapes; sound recordings of any kind;

    motion pictures; electronic, mechanical or electric records of any kind, including but not limited

    to tapes, cassettes, disks, recordings, films, typewriter ribbons, word processing or other computer

    tapes, disks, or thumb drives and all manner of electronic data processing storage; and alterations,

    modifications, changes and amendments of any kind to the foregoing; and

                             iii.   Information obtained orally.

                   e.        “Access to classified information” shall mean having access to, reviewing,

    reading, learning, or otherwise coming to know in any manner classified information.

                   f.        “SCIF” shall refer to a sensitive compartmented information facility

    approved by a designated CISO for the storage, handling, and control of classified information.

                                            Classified Information

           4.      All classified documents or material and the information contained therein shall

    remain classified unless the documents or material bear a clear indication that they have been

    declassified by the agency or department that is the originating agency of the document, material,

    or information contained therein.

           5.      All access to classified information shall conform to this Order.

           6.      The Defendants may disclose classified information to the defense as necessary for

    the preparation of their defense. Any classified information provided to the defense by the

    government or the Defendants are to be used solely by the defense and solely for the purpose of

    preparing the defense.

           7.      The defense may not disclose or cause to be disclosed in connection with this case

    any information known or reasonably believed to be classified information except as otherwise

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    provided herein. If the defense or the Defendants have any question regarding the disclosure of

    classified information, they shall consult with the CISO.

           8.      The defense may not disclose classified information to Defendant Nauta or

    Defendant De Oliveira unless that same information has been previously disclosed to the defense

    by the Defendant or the information has been approved for disclosure to Defendant Nauta or

    Defendant De Oliveira pursuant to the procedure set forth in paragraph 26.j.        Any classified

    information the defense discusses with the Defendants in any way shall be handled in accordance

    with this Order, including such requirements as confining all discussions, documents, and

    materials to an accredited SCIF.

           9.      The defense and the Defendants shall not disclose classified information to any

    person, except to the Court, government personnel who hold appropriate security clearances and

    have been determined to have a need-to-know that information, and those specifically authorized

    to access that information pursuant to this Order.

           10.     Information that is classified that also appears in the public domain is not thereby

    automatically declassified unless it appears in the public domain as the result of an official

    statement by a U.S. Government Executive Branch official who is authorized to declassify the

    information.   Individuals who, by virtue of this Order or any other court order, are granted access

    to classified information may not confirm or deny classified information that appears in the public

    domain. Prior to any attempt by the defense to have such information confirmed or denied in any

    public proceeding in this case, the defense must comply with the notification requirements of

    Section 5 of CIPA and all provisions of this Order.

           11.     If classified information enters the public domain, the defense and the Defendants

    are precluded from making private or public statements where the statements would reveal

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    personal knowledge from non-public sources regarding the classified status of the information, or

    would disclose that the defense had personal access to classified information confirming,

    contradicting, or otherwise relating to the information already in the public domain.      If there is

    any question whether information is classified, the defense must handle that information as though

    it is classified unless counsel for the government or the CISO confirms that it is not classified.

                                             Security Procedures

           12.     In accordance with the provisions of CIPA and the Revised Security Procedures,

    the Court has designated a CISO and alternate CISOs for this case (ECF No. 40), for the purpose

    of providing security arrangements necessary to protect against unauthorized disclosure of any

    classified information that has been made available to the defense in connection with this case.

    The defense shall seek guidance from the CISO with regard to appropriate storage, handling,

    transmittal, and use of classified information.

           13.     The government has advised the Court that certain Government attorneys working

    on this case, including Counselor to the Special Counsel Jay I. Bratt, Assistant Special Counsels

    Julie A. Edelstein and David V. Harbach, II, and their supervisors, have the requisite security

    clearances to have access to the classified information that counsel for the government intend to

    use, review, or disclose in this case.

           14.     The Court has been advised, through the CISO, that Trump’s and Nauta’s defense

    counsel of record, as well as Defendant De Oliveira’s counsel John Irving, possess interim security

    clearances, permitting them to have access to classified information designated as

    “CONFIDENTIAL,” “SECRET,” or “TOP SECRET,” including (upon read-ins) the following




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    SCI compartments: SI, SI-G, and TK, for which they have a need-to-know. 5

           15.     Protection of Classified Information. The Court finds that to protect the classified

    information involved in this case, to the extent that counsel have the requisite security clearances

    and a “need-to-know” the classified information, they shall be given authorized access to classified

    national security documents and information as required by the government’s discovery

    obligations and subject to the terms of this Protective Order, the requirements of CIPA, and any

    other Orders of this Court.

           16.     The Defendants may have a continuing contractual obligation to the government

    not to disclose to any unauthorized person classified information known to them or in their

    possession.   The government is entitled to enforce that agreement to maintain the confidentiality

    of classified information.    The Defendants are subject to this Court’s authority, contempt powers,

    and other authorities, and shall fully comply with any nondisclosure agreements they have signed,

    this Order, and applicable statutes.

           17.     No court personnel required by this Court for its assistance shall have access to

    classified information involved in this case unless that person shall first have received the

    necessary security clearance as determined by the CISO.

           18.     Any additional persons whose assistance the defense reasonably requires may only

    have access to classified information in this case if they are granted an appropriate security

    clearance through the CISO, obtain approval from this Court with prior notice of the identity of

    the additional persons to the U.S. government, and satisfy the other requirements described in this



    5
      Once counsel receive final clearances, they will promptly receive additional read-ins, at which
    time they will also be able to access additional SCI compartments for which they have a need-to-
    know.
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    Order for access to classified information.

            19.     An individual with a security clearance and a need-to-know as determined by any

    government entity is not automatically authorized to disclose any classified information to any

    other individual, even if that other individual also has a security clearance.   Rather, any individual

    who receives classified information may only disclose that information to an individual who has

    been determined by the CISO, in consultation with the appropriate government entity, to have both

    the required security clearance and a need-to-know the information.

            20.     Defendants’ counsel and the Defendants agree they are subject to the terms of this

    Protective Order and any other Orders of this Court.      The substitution, departure, or removal for

    any reason from this case of any counsel for the Defendants or any other member of the defense,

    shall not release that individual from the provisions of this Order.

            21.     Secure Area of Review. The CISO shall establish procedures to assure a SCIF is

    accessible during business hours to the defense, and at other times upon reasonable request as

    approved by the CISO in consultation with the Court and United States Marshals Service.            The

    SCIF shall contain a working area for the defense and will be outfitted with any secure office

    equipment requested by the defense that is reasonable and necessary to the preparation of the

    Defendants’ case.    The CISO, in consultation with counsel for the Defendants, shall establish

    procedures to assure that the SCIF may be maintained and operated in the most efficient manner

    consistent with the protection of classified information and in compliance with security

    requirements.    No classified documents, material, recordings, or other information may be

    removed from the SCIF unless so authorized by the CISO.              Should the CISO overhear any

    defense conversations or see any defense work product (excluding filings intended to be provided

    to the Court and the government), the CISO shall not reveal to the government (or anyone else)

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   the content of any conversations they may overhear among the defense, the nature of the

   documents being reviewed, or the work being generated.      The presence of the CISO or any of his

   designees shall not operate to waive, limit, or otherwise render inapplicable, the attorney-client

   privilege.

           22.      Filings with the Court. Any pleading or other document filed by the defense that

   Defendants’ counsel knows or reasonably should know contains classified information as defined

   in paragraph 3(c) shall be filed as follows:

                    a.   Pleadings and other documents shall be filed under seal with the CISO or an

   appropriately cleared designee and shall be marked, “Filed in Camera and Under Seal with the

   Classified Information Security Officer.” The time of physical submission to the CISO or an

   appropriately cleared designee shall be considered the date and time of filing and should occur no

   later than 4:00 p.m.     Within a reasonable time after making a submission to the CISO or an

   appropriately cleared designee, the defense shall file on the public record in the CM/ECF system

   a “Notice of Filing” notifying the Court that the submission was made to the CISO or an

   appropriately cleared designee.       The notice should contain only the case caption and an

   unclassified title of the filing.

                    b.   The CISO or an appropriately cleared designee shall immediately deliver under

   seal to the Court and counsel for the government any pleading or document to be filed by the

   defense that contains classified information, unless the pleading or document is an ex parte and in

   camera filing.    The CISO shall promptly consult with representatives of the appropriate agencies

   to determine whether the pleading or document contains classified information.             If it is

   determined that the pleading or document contains classified information, the CISO shall ensure




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   that the pleading or document is marked with the appropriate classification markings and that the

   pleading or document remains under seal.

           23.     Filing of Papers by the Government.     Any pleading or other document filed by the

   government that counsel for the government knows or reasonably should know contains classified

   information as defined herein, shall be filed as follows:

                   a.   The document shall be filed under seal with the CISO or an appropriately

   cleared designee and shall be marked, “Filed in Camera and Under Seal with the Classified

   Information Security Officer.”     The time of physical submission to the CISO or an appropriately

   cleared designee shall be considered the date and time of filing and should occur no later than 4:00

   p.m.    Within a reasonable time after making a submission to the CISO, counsel for the

   government shall file on the public record in the CM/ECF system a “Notice of Filing” notifying

   the Court that the submission was made to the CISO. The notice should contain only the case

   caption and an unclassified title of the filing.

                   b.   The CISO shall immediately deliver under seal to the Court and counsel for the

   defense any pleading or document to be filed by the government that contains classified

   information, unless the pleading or document is an ex parte filing.

           24.     Record and Maintenance of Classified Filings.      The CISO shall maintain a

   separate sealed record for those materials which are classified.      The CISO shall be responsible

   for maintaining the secured records for purposes of later proceedings or appeal.

           25.     The Classified Information Procedures Act.     Procedures for public disclosure of

   classified information in this case shall be those established by CIPA.    The defense shall comply

   with the requirements of CIPA Section 5 prior to any disclosure of classified information during

   any proceeding in this case.       As set forth in Section 5, the defense shall not disclose any

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   information known or believed to be classified in connection with any proceeding until notice has

   been given to counsel for the government and until the government has been afforded a reasonable

   opportunity to seek a determination pursuant to the procedures set forth in CIPA Section 6, and

   until the time for the government to appeal any adverse determination under CIPA Section 7 has

   expired or any appeal under Section 7 by the government is decided.       Any conferences with the

   Court involving classified information shall be conducted in camera in the interest of the national

   security, be attended only by persons granted access to classified information and a need-to-know,

   and the transcripts of such proceedings shall be maintained under seal.

          26.     Access to Classified Information.         In the interest of the national security,

   representatives of the defense granted access to classified information shall have access to

   classified information only as follows:

                  a.   All classified information produced, possessed, created or maintained by the

   defense, including notes and any other work product, and all classified information disclosed by

   the United States government to the defense, shall be stored, maintained and used only in the SCIF

   established by the CISO, unless otherwise authorized by the CISO.

                  b.      Special procedures for audio recordings. Any classified audio recordings that

   the government discloses to the defense shall be maintained by the CISO in the SCIF.          Such

   recordings may only be reviewed on a stand-alone, non-networked computer or other device within

   the SCIF that does not have the capability to duplicate or transmit information.   The defense must

   use headphones to review such recordings and the headphones must be wired and not have any

   wireless capability.




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                  c.   The defense shall have free access to the classified information in the SCIF

   established by the CISO and shall be allowed to take notes and prepare documents with respect to

   those materials.

                  d.   The defense shall not copy or reproduce any classified information in any

   manner or form, except with the approval of the CISO and in accordance with the procedures

   established by the CISO for the operation of the SCIF.

                  e.    All documents prepared by the defense (including, without limitation,

   pleadings or other documents intended for filing with the Court) that do or may contain classified

   information must be prepared in the SCIF on word processing equipment approved by the CISO.

   All such documents and any associated materials (such as notes, drafts, copies, typewriter ribbons,

   magnetic recordings, exhibits, thumb drives, discs, CDs, DVDs exhibits, and electronic or digital

   copies) that may contain classified information shall be maintained in the SCIF unless and until

   the CISO determines those documents or associated materials are unclassified in their entirety, or

   if secure removal is authorized by the CISO.   None of these materials shall be disclosed to counsel

   for the government or any other party.

                  f.   The defense shall discuss classified information only within the SCIF or in an

   area authorized by the CISO.

                  g.   The defense shall not disclose, without prior approval of the Court, classified

   information to any person not named in this Order except to the Court, Court personnel, and

   government personnel identified by the CISO as having the appropriate clearances and the need-

   to-know. Counsel for the government shall be given an opportunity to be heard in response to

   any defense request for disclosure to a person not identified in this Order.   Any person approved

   by this Court for access to classified information under this paragraph shall be required to obtained



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   the appropriate security clearance and to comply with all the terms and conditions of the Order.

   As set forth above, the defense shall not disclose classified information, even to an individual with

   the appropriate security clearance, without following the procedures referenced in this Order.

                  h.    The defense shall not discuss classified information over any standard

   commercial telephone instrument or office intercommunication systems, including but not limited

   to the Internet and electronic mail, or in the presence of any person who has not been granted

   access to classified information by the Court.

                  i.   Any documents written by the defense that do or may contain classified

   information shall be transcribed, recorded, typed, duplicated, copied, or otherwise prepared only

   by persons who have received an appropriate approval for access to classified information.

                  j.   The defense may disclose classified information to Defendant Trump unless the

   government informs the defense when providing the information that it will be moving the Court

   for an order to prohibit the classified information from being disclosed to Defendant Trump, in

   which case the defense may not share the information with Defendant Trump absent a Court order

   allowing it to do so and the government informing the defense that it does not intend to exercise

   any further rights under CIPA.   The defense shall not disclose classified information to Defendant

   Nauta other than materials designated “Provided to WALTINE NAUTA in United States v. Trump

   et al., 23-80101-CR-CANNON,” and shall not disclose classified information to Defendant De

   Oliveira other than materials designated “Provided to CARLOS DE OLIVEIRA in United States

   v. Trump et al., 23-80101-CR-CANNON,” unless either (1) the defense seeks and obtains

   permission from the government, or (2) the Court orders the government to permit the information

   to be shared with Defendant Nauta or Defendant De Oliveira, and the government informs the

   defense that it does not intend to exercise any further rights under CIPA.



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          27.     Any unauthorized disclosure or mishandling of classified information may

   constitute violations of federal criminal law.   In addition, any violation of the terms of this Order

   shall be brought immediately to the attention of the Court and may result in a charge of contempt

   of Court and possible referral for criminal prosecution.     Any breach of this Order may also result

   in termination of an individual’s access to classified information.      Persons subject to this Order

   are advised that direct or indirect unauthorized disclosure, retention or handling of classified

   documents or information could cause serious damage, and in some cases exceptionally grave

   damage, to the national security of the United States, or may be used to the advantage of a foreign

   nation against the interests of the United States.    The purpose of this Order is to ensure that those

   authorized to receive classified information in connection with this case will never divulge that

   information to anyone not authorized to receive it.

          28.     All classified documents and information to which the defense has access in this

   case are now and will remain the property of the United States.        Upon demand of the CISO, all

   persons shall return to the CISO all classified information in their possession obtained through

   discovery from the government in this case, or for which they are responsible because of access to

   classified information.   The notes, summaries, and other documents prepared by the defense that

   do or may contain classified information shall remain at all times in the custody of the CISO for

   the duration of the case.     At the conclusion of this case, including any appeals or ancillary

   proceedings thereto, all such notes, summaries, and other documents are to be destroyed by the

   CISO in the presence of counsel for the Defendants if they choose to be present.

          29.     Nothing contained in this Order shall be construed as a waiver of any right of the

   Defendants.    No admission made by the Defendants or their counsel during pretrial conferences




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   may be used against the Defendants unless it is in writing and signed by the Defendants.       See

   CIPA § 2.

          30.       A copy of this Order shall be issued forthwith to counsel for the Defendants who

   shall be responsible for advising the Defendants and representatives of the defense of the contents

   of this Order.



          SO ORDERED this _______ day of ___________ 2023.




                                                 ____________________________________
                                                 HON. AILEEN M. CANNON
                                                 UNITED STATES DISTRICT COURT JUDGE




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